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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CRIMINAL CASE NO: 1:21-CR-0382-PLF
                                           )
CHRISTOPHER WARNAGIRIS                     ) TRIAL: NOVEMBER 8, 2023
                                           )
         DEFENDANT.                        )
__________________________________________)

                  NOTICE
———————————————————————————————————————


       The defendant hereby submits courtesy notice to the District Court that on August 30,

2023, he filed an Amicus Curiae Brief in the United States Supreme Court in support of

Petitioners seeking certiorari to the D.C. Circuit Court decision in United States v. Fischer, 64

F.4th 329 (D.C. Cir. 2023).

       Titled, “BRIEF OF AMICI CURIAE CHRISTOPHER WARNAGIRIS, CHRISTOPHER CARNELL,

AND WILLIAM ROBERT NORWOOD, III IN SUPPORT OF PETITIONERS,” the defendant’s brief was

properly served and filed in the following cases:

1) United States v. Edward Jacob Lang, 64 F.4th 329 (D.C. Cir. 2023), petition for cert. filed,

    (U.S. Jul. 7, 2023)(No. 23-32), and,


2) United States v. Garret Miller, 64 F.4th 329 (D.C. Cir. 2023), petition for cert. filed, (U.S.

    Aug. 1, 2023)(No. 23-94).


       A true and accurate copy of the Amicus Curiae Brief is attached to this notice.




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                                              Respectfully submitted,

                                              By Counsel:

                                                     /s/
                                              MARINA MEDVIN, ESQ.
                                              Counsel for Defendant
                                              MEDVIN LAW PLC
                                              916 Prince Street
                                              Alexandria, Virginia 22314
                                              Tel: 888.886.4127
                                              Email: contact@medvinlaw.com



                         CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on August 30, 2023, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.

                                                    /s/
                                              Marina Medvin, Esq.




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